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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

 UNITED STATES OF AMERICA,                 §
                                           §
 V.                                        §           No. 3:16-cr-373-M (26)
                                           §
 CEDRIC DEON GARLAND,                      §
                                           §
              Defendant.                   §

                    MEMORANDUM OPINION AND ORDER

       In the Order Accepting Report and Recommendation of the United States

 Magistrate Judge Concerning Plea of Guilty, dated March 8, 2018, Chief Judge

 Barbara M. G. Lynn has referred this matter to the undersigned United States

 magistrate judge for a hearing to determine whether it has been clearly shown that

 there are exceptional circumstances under 18 U.S.C. § 3145(c) why Defendant Cedric

 Deon Garland should not be detained under 18 U.S.C. § 3143(a)(2) and whether it has

 been shown by clear and convincing evidence that Defendant Cedric Deon Garland is

 not likely to flee or pose a danger to any other person or the community if released

 under 18 U.S.C. § 3142(b) or (c). See Dkt. No. 786.

                                     Background

       Defendant is set for sentencing before Chief Judge Lynn on June 29, 2018. See

 Dkt. No. 736. “[W]hether a defendant should be released pending trial and whether a

 defendant should be released pending sentencing or appeal are distinct inquiries

 governed by different provisions of the Bail Reform Act.” United States v. Lee, 31 F.

 App’x 151, No. 01-30876, 2001 WL 1747632, at *1 (5th Cir. Dec. 4, 2001).

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       “The provisions of 18 U.S.C. § 3143 govern release pending sentencing or

 appeal.” FED. R. CRIM. P. 46(c). 18 U.S.C. § 3143(a)(2) dictates that the Court “shall

 order that a person who has been found guilty of an offense in a case described in

 subparagraph (A), (B), or (C) of subsection (f)(1) of section 3142 and is awaiting

 imposition or execution of sentence be detained unless – (A)(i) the judicial officer finds

 there is a substantial likelihood that a motion for acquittal or new trial will be granted;

 or (ii) an attorney for the Government has recommended that no sentence of

 imprisonment be imposed on the person; and (B) the judicial officer finds by clear and

 convincing evidence that the person is not likely to flee or pose a danger to any other

 person or the community.” 18 U.S.C. § 3143(a)(2).

       Defendant filed a Motion for Continued Pretrial Release in which he identifies

 the exceptional circumstances under 18 U.S.C. § 3145(c) that he contends justify his

 continued release post-conviction and in which he addresses whether he is likely to flee

 or pose a danger to any other person or the community if released under 18 U.S.C. §

 3142(b) or (c) pending sentencing. See Dkt. No. 821.

       The Court held a hearing on March 29, 2018 on the matters referred by Chief

 Judge Lynn, at which Defendant appeared in person and through counsel and the

 government’s counsel appeared. See Dkt. No. 839.

                            Legal Standards and Analysis

       As a preliminary matter, Defendant is subject to mandatory detention under

 Section 3143(a)(2) because he has, on a guilty plea, now been adjudged guilty of a

 violation of 21 U.S.C. § 846. See Dkt. Nos. 687, 688, 730, 731, & 786. That is “an offense

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 in a case described in subparagraph (A) ... of subsection (f)(1) of section 3142,”

 specifically, “an offense for which a maximum term of imprisonment of ten years or

 more is prescribed in the Controlled Substances Act (21 U.S.C. 801 et seq.).”

       Defendant therefore must be detained pursuant to 18 U.S.C. § 3143(a)(2) unless

 he meets the conditions of release set forth in Section 3143(a)(2) or 18 U.S.C. § 3145(c).

 Release of “a person who has been found guilty of an offense in a case described in [18

 U.S.C. § 3142(f)(1)(A)] and is awaiting imposition or execution of sentence” requires

 that “the judicial officer finds by clear and convincing evidence that the person is not

 likely to flee or pose a danger to any other person or the community.” 18 U.S.C. §

 3143(a)(2)(B); see also United States v. Morrison, 833 F.3d 491, 506 (5th Cir. 2016)

 (“The decision to detain Jacqueline after conviction is a common one because of the

 presumption in favor of detention that attaches to a convicted defendant. See 18 U.S.C.

 § 3143.”); United States v. Lopez, 504 F. App’x 297, 298 (5th Cir. 2012) (“A defendant

 who has been convicted ‘shall ... be detained’ pending sentencing ‘unless the judicial

 officer finds by clear and convincing evidence that the person is not likely to flee or

 pose a danger to the safety of any other person or the community if released.’ Thus,

 there is a presumption against release pending sentencing.” (footnotes omitted)). As

 the United States Court of Appeals for the Fifth Circuit has repeatedly recognized,

 Federal Rule of Criminal Procedure 46(c) and Section 3143(a)(1) impose a burden on

 a convicted defendant seeking release pending sentencing to show by clear and

 convincing evidence that she or he is not a flight risk or a danger to the community. See

 18 U.S.C. § 3143(a)(1); FED. R. CRIM. P. 46(c) (“The burden of establishing that the

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 defendant will not flee or pose a danger to any other person or to the community rests

 with the defendant.”); United States v. Lockett, 549 F. App’x 269 (mem.), No. 13-11097,

 2013 WL 6623771, at *1 (5th Cir. Dec. 17, 2013).

       Further, Defendant must meet the conditions of release set forth in Section

 3143(a)(2)(A) or 3145(c). Defendant cannot, and does not claim that he can, satisfy the

 Section 3143(a)(2)(A) showing that there is a substantial likelihood that a motion for

 acquittal or new trial will be granted or that an attorney for the government has

 recommended that no sentence of imprisonment be imposed on Defendant.

       18 U.S.C. § 3145(c) provides that “[a] person subject to detention pursuant to [18

 U.S.C. §] 3143(a)(2) or (b)(2), and who meets the conditions of release set forth in [18

 U.S.C. §] 3143(a)(1) or (b)(1), may be ordered released, under appropriate conditions,

 by the judicial officer, if it is clearly shown that there are exceptional reasons why such

 person’s detention would not be appropriate.” As reflected in the Report and

 Recommendation Concerning Plea of Guilty [Dkt. No. 731], Section 3145(c) provides

 an alternative basis for pre-sentencing release under “exceptional circumstances,” so

 long as Defendant also makes the required showing under Section 3143(a)(1) and

 3143(a)(2)(B) – that is, by clear and convincing evidence that Defendant is not likely

 to flee or pose a danger to the safety of any other person or the community if released

 under 18 U.S.C. § 3142(b) or 3142(c) pending sentencing. See United States v. Carr, 947

 F.2d 1239, 1240 (5th Cir. 1991).

       The Court finds that Defendant has made the required showing that he is not

 likely to flee or pose a danger to the safety of any other person or the community if

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 continued on release. As Defendant explains in his motion.

       At the November 6, 2017 detention hearing, the Court made an oral
       finding that they believed there were conditions the court could impose
       that would ensure the defendant was neither a flight risk or a danger to
       the community. As a result, the defendant was placed on conditions of
       pretrial release and has successfully fulfilled those conditions. Therefore,
       the defendant believes his actions over the last several months have
       provided the court the “clear and convincing evidence” needed to satisfy
       § 3143. While the flight risk and danger to the community element is
       essential to the analysis, it is not the controlling issue the Court needs to
       address.

 Dkt. No. 821 at 2-3.

       The issue of Defendant’s presentencing release therefore turns on whether “it

 is clearly shown that there are exceptional reasons why [Defendant’s] detention

 [pending sentencing] would not be appropriate.” 18 U.S.C. § 3145(c). In support of that

 showing, Defendants explains that,

       [a]s the Court is aware from the detention hearing in this matter, the
       defendant was arrested for a state drug offense on October 14, 2016,
       which is also an overt act in the conspiracy the defendant pled to in count
       one. The defendant remained in the custody of the Tarrant County Jail
       until he entered a plea bargain with the Tarrant County District
       Attorney’s Office. On February 21, 2017, the defendant was placed on five
       years of deferred adjudication probation. As part of his probation, the
       defendant was ordered to attend SAFPF to complete in-patient substance
       abuse treatment. See Attachment A (Order of Deferred Adjudication).
              The mission statement of SAFPF’s substance abuse treatment
       program is to:
              provide evidence-based substance abuse treatment services
              appropriate to the needs of individual offenders to facilitate
              positive change; and to provide accountability for programing
              utilizing assessment tools developed specifically for this
              population, all of which leads to reducing recidivism and improving
              public safety.
       Rehabilitation Programs Division, Substance Abuse Treatment Program,
       http://www.tdcj.texas.gov/divisions/rpd/substance_abuse.html. (last
       accessed March 18, 2018). The program is broken up into three different

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       phases. Phase one is when the defendant is actually at the in-patient
       substance abuse facility, which is housed in a Texas Department of
       Criminal Justice Unit. This initial phase is six to nine months long,
       depending on the needs of the defendant. Once phase one is completed,
       the defendant is placed in a residential transitional treatment center (i.e.
       “half-way” house). During phase two, the defendant spends the next three
       months continuing to focus on their treatment as well as working to make
       a successful transition back into the community by finding employment,
       peer support and family reintegration. During the last phase, phase
       three, the defendant completes outpatient treatment and attends
       multiple support groups each week for nine to 12 months.
              The defendant was arrested in this case while attending a group
       session at the Salvation Army during phase two of his treatment. He had
       just recently been transferred to this half-way house facility when agents
       arrived. Following the detention hearing, the defendant was permitted to
       go back to the Salvation Army to continue this portion of phase two and
       was ultimately discharged on or about December 23, 2018. The defendant
       is now in phase three of his treatment and is doing extremely well. He
       attends sessions every week at the Community Health Core. In addition,
       he attends at least three AA/NA meetings each week, has found steady
       employment, and has successfully removed himself from the environment
       that led to his drug addiction.
              District courts throughout the Fifth Circuit have issued opinions
       discussing a variety of circumstances that do not rise to the level of
       “exceptional.” However, counsel has been unable to find any that are
       directly on point with the defendant’s situation. In United States v.
       MacIntyre, this Court found that MacIntyre’s age and health issues were
       exceptional reasons to justify his release pending sentencing. Case No.
       3:14-CR-189-L, Doc. No. 80 (N.D. Tex. Sept. 19, 2014). MacIntyre is
       somewhat analogous to the defendant’s case where when finding
       exceptional reasons existed, the Court reasoned that MacIntyre was
       “vulnerable to becoming very sick if required to spend significant time in
       a detention facility as opposed to being in a Bureau of Prisons facility.”
       Id. at 7. In the present case, the State of Texas has spent thousands of
       dollars to treat the defendant’s substance abuse addiction. He is currently
       in the middle of phase three of this program. The detention centers
       utilized by the government do not have the resources/programs that
       would allow the defendant to complete his treatment. By failing to
       complete the aftercare program, the defendant would be placed at a
       higher risk of relapse and recidivism; thereby, wasting all of the time and
       expense the State of Texas has devoted to rehabilitating him.
              The defendant’s case is clearly out of the ordinary, uncommon, or
       rare because it is virtually unheard of to have a defendant in a federal

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       drug conspiracy charged while he is in the middle of completing
       court-ordered intensive substantive abuse treatment.

 Id. at 3-5. “For the reasons stated above, the defendant requests that he remain

 on pretrial release so that he can have the opportunity to successfully complete

 his court-ordered substance abuse treatment.” Id. at 6.

       The United States Court of Appeals for the Fifth Circuit has explained

 that the “exceptional reasons” provision “was added to § 3145(c) with the

 mandatory detention provisions of § 3143(a)(2) and (b)(2) and was apparently

 designed to provide an avenue for exceptional discretionary relief from those

 provisions.” Carr, 947 F.2d at 1240. The United States Court of Appeals for the

 Second Circuit offers a working definition of “exceptional reasons”: “a unique

 combination of circumstances giving rise to situations that are out of the

 ordinary.” United States v. DiSomma, 951 F.2d 494, 497 (2d Cir. 1991). That

 court also explained that, in assessing reasons proffered as the basis for release

 under Section 3145(c), “a case by case evaluation is essential.” Id. The United

 States Court of Appeals for the Eighth Circuit has similarly explained that

 “‘exceptional’ means ‘clearly out of the ordinary, uncommon, or rare.’” United

 States v. Little, 485 F.3d 1210, 1211 (8th Cir. 2007) (citation omitted). One court

 has explained that, “to avoid emasculating the mandatory detention statute[,]

 ‘exceptional reasons review is limited to determining whether remanding the

 defendant to custody until sentencing would be tantamount to subjecting

 individuals to unjust detention.’” United States v. Thomas, No. 10-cr-229, 2010


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 WL 3323805, at *2 (D.N.J. Aug. 20, 2010) (quoting United States v. Christman,

 712 F. Supp. 2d 651, 655 (E.D. Ky. 2010)).

       District courts in this circuit have noted a variety of circumstances that

 do not rise to the level of exceptional. See United States v. Cyrus, No.

 10-0228-04, 2010 WL 5437247, at *1-*2 (W.D. La. Dec. 27, 2010) (need to “secure

 his home and attend to other personal matters” were not exceptional reasons

 justifying release pending sentencing); United States v. Douglas, 824 F. Supp.

 98, 99-100 (N.D. Tex. 1993) (defendant’s cooperation with the government that

 subjected him to potential retaliation by co-defendants and his attempts at

 rehabilitation did not constitute exceptional reasons); United States v. Dempsey,

 No. 91-098, 1991 WL 255382, at *1-*2 (E.D. La. Nov. 19, 1991) (poor health,

 emotional and mental problems, and need to properly prepare his business and

 his family for his long absence were not exceptional circumstances); United

 States v. Scott, No. 1:95-CR-80-1, 1995 WL 723752, at *1-*2 (E.D. Tex. Nov. 22,

 1995) (need to assist parent was a purely personal reason that was no more

 exceptional than those routinely rejected by courts); see also United States v.

 Landry, No. CR 15-32-JWD-SCR, 2015 WL 5202458, at *2-*4 (M.D. La. Sept. 4,

 2015); United States v. Posada, 109 F. Supp. 3d 911, 912-16 (W.D. Tex. 2015).

       And, under Section 3145(c), a defendant who is compliant with his release

 conditions and doing everything that she should is – however commendable –

 not so out of the ordinary and, in that sense, “exceptional” among defendants

 who are on release at the time that they are found guilty as to justify an

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 exception to Section 3142(a)(2)’s rule of mandatory detention. See generally

 United States v. Bernard, No. 1:12-cr-00022-JAW-02, 2013 WL 145582, at *2 (D.

 Me. Jan. 14, 2013) (“One way of thinking about compliance with the terms of

 pretrial release and a lack of significant criminal history is that they make out

 a necessary but not sufficient showing for release under § 3145(c).”).

       But, here, the Court determines that Defendant’s proffered reasons for

 continuing his release are, taken together, a unique combination of

 circumstances giving rise to a situation that is out of the ordinary. As

 Defendant’s counsel persuasively explained in the motion for continued release

 and at the hearing, Defendant has, since the time of his arrest in this case, been

 successfully participating in an intensive, fixed-duration program, and detaining

 him pending sentencing would – in the Court’s view, unnecessarily and

 inappropriately – derail his completion of the program in the next several

 months. The Court finds that this is so unique a combination of circumstances

 that is so clearly out of the ordinary, uncommon, or rare as to justify ordering

 release pending sentencing under Section 3145(c).

                                   Conclusion

       The Court finds that the totality of the facts that Defendant urges as

 exceptional circumstances are, taken together, a unique combination of

 circumstances giving rise to a situation that is out of the ordinary and in which

 Defendant’s presentencing detention would not be appropriate, so as to justify

 ordering release pending sentencing under Section 3145(c). In sum, the Court

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 finds that Defendant Cedric Deon Garland met his burden to clearly show

 exceptional circumstances why he should not be detained pending sentencing

 – that is, exceptional reasons why his detention would not be appropriate – and

 to show by clear and convincing evidence that he is not likely to flee or pose a

 danger to any other person or the community if released under 18 U.S.C. §

 3142(c).

       Defendant Cedric Deon Garland is ORDERED to remain on release,

 subject to the Court’s Order Setting Conditions of Release [Dkt. No. 476],

 pending his sentencing before Chief Judge Barbara M. G. Lynn.

       SO ORDERED.

       DATED: March 29, 2018



                                  _________________________________________
                                  DAVID L. HORAN
                                  UNITED STATES MAGISTRATE JUDGE




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